          Case 2:20-cv-00767-APG-BNW Document 34 Filed 10/02/20 Page 1 of 1




 1                               UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3 REBECCA BRATCHER,                                        Case No.: 2:20-cv-00767-APG-BNW

 4           Plaintiff                                            Order for Status Report

 5 v.

 6 ALLEGIANT TRAVEL COMPANY, et al.,

 7           Defendants

 8          Plaintiff Rebecca Bratcher moved to consolidate this case with another one pending in

 9 this District. ECF No. 17. The plaintiff in the other case, interested party Deanna Herr,

10 suggested consolidation may be unnecessary if the Judicial Panel on Multi-District Litigation

11 transferred the cases to the United States District Court for the Northern District of Illinois. See

12 ECF Nos. 27; 29-2. Since then, there has been no update regarding the status of the proposed

13 transfer to multi-district litigation.

14          I THEREFORE ORDER that by October 30, 2020, the parties and interested party

15 Deanna Herr shall file a status report regarding the proceedings before the Judicial Panel on

16 Multi-District Litigation and whether transfer is likely.

17          DATED this 2nd day of October, 2020.

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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